        Case 23-21310-CMB Doc 46-1 Filed 10/31/23 Entered 10/31/23 11:02:35                                              Desc
                        Discharge Ch 7: Notice Recipients Page 1 of 1
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Recipients of Notice of Electronic Filing:
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15610851 PHH Mortgage             PO Box 24606        West Palm Beach, FL 33416
15616961 PHH Mortgage Corporation             PO Box 24606         West Palm Beach, FL 33416−4605
15610850 Pennsylvania American Water            PO Box 37412         Pittsburgh, PA 15250−7412
15610856 SYNCB/Walmart              PO Box 71746         Philadelphia, PA 19176
15610852 Santander Consumer USA             8585 North Stemmons Freewat           Suite 1100 N        Dallas, TX 75247
15613647 Santander Consumer USA Inc.            P.O. Box 560284         Dallas, TX 75356
15610853 South Union Township            PO Box 2047         Uniontown, PA 15401
15610854 St. Joseph Mercy Oakland           44405 Woodward Avenue            Pontiac, MI 48341
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